
11 So.3d 4 (2009)
STATE of Louisiana
v.
Robert W. BAILEY, Jr.
No. JAK 08-1431.
Court of Appeal of Louisiana, Third Circuit.
March 4, 2009.
*5 Hon. J. Reed Walters, District Attorney-28th JDC, Jena, LA, for Plaintiff/Appellant, State of Louisiana.
David Jeffrey Utter, Southern Poverty Law Center, Montgomery, AL, Henry Clay Walker, Louisiana Public Defender Bd., Baton Rouge, LA, Stanley Joseph Adelman, Johnathan David King, DLA Piper U.S. LLP, Chicago, IL, for Defendant/Appellee, J.R.B.
Court composed of SYLVIA R. COOKS, J. DAVID PAINTER, and SHANNON J. GREMILLION, Judges.
GREMILLION, Judge.
For the reasons assigned in the companion case of State in the Interest of J.R.B., 08-1428 (La.App. 3 Cir. 3/4/09), 11 So.3d 2, these appeals are dismissed.
APPEALS DISMISSED.
